     Case 2:96-cr-00190-JAM-GGH Document 393 Filed 11/15/19 Page 1 of 3


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 5
      Attorneys for Defendant
 6    TROY DONAHUE BARRON
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10    UNITED STATES OF AMERICA,                   )   Case No. S 96-190 JAM 2
                                                  )
11                        Plaintiff,              )   Unopposed Request to Extend Deadline
                                                  )   for Filing a Supplement or Other
12    v.                                          )   Appropriate Response; Order
                                                  )
13    TROY DONAHUE BARRON,                        )
                                                  )
14                        Defendant.              )   Judge: Honorable JOHN A. MENDEZ
                                                  )
15                                                )
16            On August 1, 2019, this Court issued an order directing the Office of the Federal
17    Defender to file a supplement or other appropriate response to defendant’s pro se motion
18    to reduce sentence under the First Step Act no later than October 31, 2019. For the
19    reasons set forth below, counsel requests an extension of the deadline to December 20,
20    2019.
21            The undersigned is the attorney responsible for assisting defendants convicted in
22    the Eastern District of California seeking sentence reductions pursuant to Section 404 of
23    the First Step Act. Defendant Troy Donahue Barron was one of three co-defendants
24    charged in 1996 in a 15-count indictment. Following an eight-day trial, the defendants
25    were convicted and Troy Barron was sentenced to life imprisonment. The government
26    and defense are taking a coordinated approach to resolving, where possible, reductions of
27    sentences under the First Step Act. Today, the government informed the undersigned that

28    it declined to stipulate to relief under the First Step Act.

       Unopposed Request to Extend Deadline for        -1-           United States v. Troy Donahue Barron,
       Filing a Supplement or Other Appropriate                                        Civ. S 96-190 JAM 2
       R          Od
     Case 2:96-cr-00190-JAM-GGH Document 393 Filed 11/15/19 Page 2 of 3


 1           Accordingly, because of the extremely lengthy record and the need to meet with
 2    Mr. Barron in person, the undersigned respectfully requests an extension until December
 3    20, 2019, to file a supplement or other appropriate response to defendant’s pro se motion
 4    filed January 28, 2019. Counsel for the government, Assistant U.S. Attorney Jason Hitt,
 5    graciously indicated he has no objection to this request. A proposed order is lodged
 6    herewith.
 7    Date: November 13, 2019
 8                                                Respectfully submitted,
 9                                                HEATHER E. WILLIAMS
                                                  Federal Defender
10
11                                                /s/ David M. Porter
                                                  DAVID M. PORTER
12                                                Assistant Federal Defender
13                                                Attorneys for Defendant
                                                  TROY DONAHUE BARRON
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       Unopposed Request to Extend Deadline for     -2-            United States v. Troy Donahue Barron,
       Filing a Supplement or Other Appropriate                                      Civ. S 96-190 JAM 2
       R          Od
     Case 2:96-cr-00190-JAM-GGH Document 393 Filed 11/15/19 Page 3 of 3


 1                                                ORDER
 2           Pursuant to defendant’s unopposed request, and good cause appearing therefor, the
 3    Office of the Federal Defender is directed to file a supplement or other appropriate
 4    response on or before December 20, 2019.
 5           IT IS SO ORDERED.
 6    Dated: November 14, 2019                     /s/ John A. Mendez______________
                                                   HONORABLE JOHN A. MENDEZ
 7
                                                   United States District Court Judge
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       Unopposed Request to Extend Deadline for     -3-            United States v. Troy Donahue Barron,
       Filing a Supplement or Other Appropriate                                      Civ. S 96-190 JAM 2
       R          Od
